                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                  Plaintiff,                          )
                                                      )
         v.                                           )        Case No. 4:17-cr-00330-01-SRB
                                                      )
PRESTON L. GILLAM,                                    )
                                                      )
                                                      )
                  Defendant.                          )

                                                      ORDER

         Before the Court is Defendant Preston L. Gillam’s Motion for Compassionate Release Due

to Danger from the Coronavirus (Doc. #54). Defendant argues he should be granted immediate

release to home confinement in light of the COVID-19 pandemic. Defendant argues that his

medical conditions put him at risk for contracting COVID-19.1 Defendant argues that he has

exhausted administrative remedies. The Government opposes the motion, arguing Defendant has

not exhausted administrative remedies and fails to demonstrate extraordinary and compelling

circumstances that warrant a sentence modification.

         The First Step Act of 2018 modified compassionate release under 18 U.S.C. § 3582 to state:

         [T]he court, upon motion of the Director of the Bureau of Prisons or upon motion of
         the defendant after the defendant has fully exhausted all administrative rights to
         appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
         or the lapse of 30 days from the receipt of such a request by the warden of the
         defendant's facility, whichever is earlier, may reduce the term of imprisonment (and
         may impose a term of probation or supervised release with or without conditions
         that does not exceed the unserved portion of the original term of imprisonment),
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  Defendant asserts that he suffers from bowel perforations, respiratory failure and anemia, facial trauma, spinal
stenosis, and mental illness. While Defendant cites to the Presentence Investigation Report issued in his case nearly
two years ago, Defendant submits no evidence substantiating his assertion that, or indicating the extent to which, he
presently suffers from the stated medical conditions.




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       after considering the factors set forth in section 3553(a) to the extent that they are
       applicable, if it finds that – (i) extraordinary and compelling reasons warrant such a
       reduction; or (ii) the defendant is at least 70 years of age, has served at least 30 years
       in prison, pursuant to a sentence imposed under section 3559(c), for the offense of
       offenses for which the defendant is currently imprisoned, and a determination has
       been made by the Director of the Bureau of Prisons that the defendant is not a
       danger to the safety of any other person or the community, as provided under section
       3142(g); and that such a reduction is consistent with applicable policy statements
       issued by the Sentencing Commission.

§ 3582(c)(1)(A) (emphasis added). Even assuming Defendant exhausted administrative remedies, a

sentence modification is not warranted here. The Court is sensitive to the magnitude of the

COVID-19 pandemic and the serious health concerns it presents. However, upon considering

Defendant’s age (44), apparent health conditions, and that Defendant still has 4 years of his prison

sentence left to serve, the Court finds no extraordinary and compelling reason to modify

Defendant’s sentence.

       Accordingly, it is ORDERED that Defendant Preston L. Gillam’s Motion for

Compassionate Release Due to Danger from the Coronavirus (Doc. #54) is DENIED.

       IT IS SO ORDERED.



DATED: June 18, 2020                                   /s/ Stephen R. Bough
                                                       STEPHEN R. BOUGH, JUDGE
                                                       UNITED STATES DISTRICT COURT




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